Case 2:21-cv-0435CCDDL DXOWER SHBET 10/04/21 Page 1 of 7

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

BARRIE DUBOIS UNITED STATES DEPARTMENT OF THE
INTERIOR,CITY OF PHILA AND PHILA. PARKING

ALI NEI
County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASFS ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

J544 (Rev, 10/20)

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)
NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (/f Known)

MICHAEL J, PAJAK, ESQ., ROSENBAUM & ASSOC.
1818 MARKET ST., STE 3200, PHILA., PA
19103-2155690200

 

 

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “NX” in One Box for Plaintifi
(For Diversity Cases Only) and One Box for Defendant)
[-]1 U.S. Government []3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] l LC] | Incorporated or Principal Place C] 4 C4
of Business In This State
[x] 2 U.S. Government C 4 Diversity Citizen of Another State C] 2 LC] 2 Incorporated and Principal Place Ey 5 [x] 5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a LC] 3 [i 3 Foreign Nation | 6 C] 6
Foreign Country

 

 

IV. NATURE OF SUIT (Place an “Xin One Box Only)

Click here for: Nature of Suit Code Descriptions.

 

FORFEITURE/PENALTY

OTHER STATUTES

 

 

| CONTRACT TORTS
110 Insurance PERSONAL INJURY PERSONAL INJURY
120 Marine 310 Airplane [] 365 Personal Injury -
130 Miller Act 315 Airplane Product Product Liability
140 Negotiable Instrument Liability [] 367 Health Care/
L] 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaccutical
& Enforcement of Judgment Slander Personal Injury
151 Medicare Act 330 Federal Employers’ Product Liability
5 152 Recovery of Defaulted Liability | 368 Asbestos Personal
Student Loans 340 Marine Injury Product
(Excludes Veterans) H 345 Marine Product Liability
CJ 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud

["] 160 Stockholders’ Suits
[| 190 Other Contract
_ 195 Contract Product Liability

- 355 Motor Vehicle
Product Liability

x] 360 Other Personal

Injury

|] 362 Personal Injury -

Medical Malpractice

Hl

371 Truth in Lending

EL] 3380 Other Personal
Property Damage

| 385 Property Damage
Product Liability

 

 

REAL PROPERTY

CIVIL RIGHTS

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Ton Product Liability
290 All Other Real Property

 

196 Franchise
L_|
1
C)

|_| 440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

Employment

Other
| 448 Education

 

i 445 Amer. w/Disabilities -

|] 446 Amer. w/Disabilities -

1
Habeas Corpus:
Hl 463 Alien Detainee
| | 510 Motions to Vacate
Sentence
|] 530 General
. 535 Death Penalty
Other:
540 Mandamus & Other
550 Civil Rights
555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

| 625 Drug Related Seizure
of Property 21 USC 881
| _]690 Other

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

H

 

830 Patent

835 Patent - Abbreviated
New Drug Application

840 Trademark

 

 

=o

710 Fair Labor Standards

Act
| }720 Labor/Management
Relations
740 Railway Labor Act
47s Family and Medical
Leave Act
790 Other Labor Litigation
791 Employee Retirement
Income Security Act

880 Defend Trade Secrets
Act of 2016

861 HIA (1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(g)) =
864 SSID Title XVI
[ ] 865 RSI (405(g))

 

I 375 False Claims Act
376 Qui Tam (31 USC
3729(a})

Hi 400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

| 480 Consumer Credit

(15 USC 1681 or 1692)

[| 485 Telephone Consumer
Protection Act

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

390 Other Statutory Actions

89] Agricultural Acts

893 Environmental Matters

 

 

895 Freedom of Information

 

{| 870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party

 

      
 

462 Naturalization Application
465 Other Immigration
Actions

26 USC 7609

Act
896 Arbitration
899 Administrative Procedure
Acl/Review or Appeal of
Agency Decision
|] 950 Constitutionality of
State Statutes

 

 

 

 

V. ORIGIN (Place an “x” in One Box Only)

1 Original

Proceeding

2 Removed from
State Court

3

Remanded from
Appellate Court

[Jt Reinstated or Cy 5 Transferred from

Reopened Another

(specify)

District
Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

VI. CAUSE OF ACTION

Brief description of cause:
SLIP AND FALL

L] CHECK IF THIS IS A CLASS ACTION

 

DEMAND $ CHECK YES only if demanded in complaint:

VII. REQUESTED IN

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. IN EXCESS OF $75K JURY DEMAND: [x] Yes []No
VILL RELATED CASE(S)
IF ANY (See tisirucnionsys Te DOCKET NUMBER
DATE SIGNATURE OF A®IORNBY OF RECORD
A {24{2) Antje Peth—
FOR OFFICE USE ONLY v
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
: UNAyRD IC 2 of 7
Case 2:21-0v-p425/4GH FRAT RISERS D042 Page 2

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the cate gory of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 201 QUEEN STREET, APT 1, PHILA., PA 19147
Address of Defendant: 1849 C STREET NW, WASHINGTON, DC 20240
Place of Accident, Incident or Transaction: 131-42 S. 2ND STREET, PHILA.., PA

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

 

 

 

 

 

 

 

 

|. Is this case related to property included in an earlier numbered suit pending or within one year Yes | No y|
previously terminated action in this court? -

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No|@%
pending or within one year previously terminated action in this court? :

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No Y
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes | No

 

case filed by the same individual?

I certify that. to my knowledge. the within case [1 is / (2 is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: Must sign here 324997

Attorney-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

Federal Question Cases: Diversity Jurisdiction Cases:

i. Indemnity Contract, Marine Contract. and All Other Contracts Insurance Contract and Other Contracts
2.. FELA Airplane Personal Injury
3. Jones Act-Personal Injury Assault, Defamation
4. Antitrust Marine Personal Injury
Patent

Motor Vehicle Personal Injury ‘

Other Personal Injury (Please specify): LIP AND FAL
Products Liability

8. Habeas Corpus Products Liability — Asbestos

9. Securities Act(s) Cases All other Diversity Cases

10. Social Security Review Cases (Please specify):
All other Federal Question Cases

(Please specify):

AN

 

Labor-Management Relations
Civil Rights

MPN AA Pe

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ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case Jrom eligibility for arbitration.)
IN = f\

Piven
1, MIC (ACL J. PA JA L / ESQ , counsel of record or pro se plaintiff, do hereby certify:

x Pursuant to Local Civil Rule 53.2, § 3(c) (2). that to the best of my knowledge and belief, the damages recoverable in this civil action case
™ exceed the sum of $150,000.00 exclusive of interest and costs:

 

| Relief other than monetary damages is sought.

 

a>

“ A ‘ fF ft “> CO Ga —

DATE: | [21 L| Mn fe if applicable 3?2Y ‘| : +
‘ ' Attorney-at-Law / Pro Se Plaintiff Attorney ID. # tif applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5 2018)

 
Case 2:21-cv-04357-CDJ Document1 Filed 10/04/21 Page 3 of 7

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL J. PAJAK, ESQUIRE
1818 Market Street, Suite 3200
Philadelphia, PA 19103
(215)569-0200

 

BARRIE DUBOIS
201 Queen Street, Apartment |
Philadelphia, PA 19147

Plaintiff
VS.

UNITED STATES DEPARTMENT OF THE
INTERIOR

1849 C Street NW

Washington, DC 20240

and

CITY OF PHILADELPHIA

1515 Arch Street, 14 Floor

Philadelphia, PA 19102

and

PHILADELPHIA PARKING AUTHORITY
701 Market Street, Suite 5400

Philadelphia, PA 19106

Defendants

: MAJOR JURY DEMAND

: NO.

CIVIL ACTION-PREMISES LIABILITY

JURISDICTION AND VENUE

|. The plaintiff, Barrie Dubois, is an adult individual and a citizen of the

Commonwealth of Pennsylvania, with her domicile being 201 Queen Street,

Apartment 1, Philadelphia, Pennsylvania 19147.

2. The defendant, United States Department of the Interior, is an agency of the United

States Government with a principal place of business at 1849 C Street NW,

Washington, DC 20240.
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The defendant, City of Philadelphia, is a municipal entity operating under the laws
of the Commonwealth of Pennsylvania witha principal place of business at 1515
Arch Street, 14"" Floor, Philadelphia, Pennsylvania 19102.

The defendant, Philadelphia Parking Authority, is a corporation, limited liability
company, partnership or fictitious name of an individual or individuals, with a
principal place of business at 701 Market Street, Suite 5400, Philadelphia,
Pennsylvania 19106.

The jurisdiction of the court is hereby invoked pursuant to United States Code,
Title 28, Sec. 1332, which states that the District Court shall have original
Jurisdiction of all civil actions wherein the matter in controversy exceeds the sum
or value of $75,000.00, exclusive of interest and costs, and is between citizens of
different states.

Venue is sought in the United States District Court of the Eastern District of
Pennsylvania pursuant to United States Code, Federal Statute, Title 28, Sec.
1391(a)(2), which states that a civil action wherein jurisdiction is founded on
diversity of citizenship may, except as otherwise provided by law, be brought in
the judicial district where a substantial part of the events or omissions giving rise
to the claim occurred, or a substantial part of property that is the subject of the
action is situated.

At all times relevant hereto, the defendants were acting through their agents,
servants and/or employees within the course and scope of their employment, and the

doctrine of Respondeat Superior is invoked herein.
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Atall times relevant hereto all defendants were acting as the agents, servants,
workmen and/or employees of all other named defendants.

STATEMENT OF CLAIM
Atall times relevant hereto, defendants had under their care, direction,
supervision, control and maintenance the premises and walkway located at or near
“Welcome Park”, 131-42 South 2™ Street, Philadelphia, Pennsylvania, and it was
the defendant’s duty to keep and maintain said premises and walkway in a

reasonably safe condition.

. On or about the 25th day of November, 2019, at approximately 9:00 p.m., a

dangerous, negligent and/or defective condition existed on the premises as
aforesaid and defendants knew or should have known of the existence of same
On the aforesaid date, the plaintiff, Barrie Dubois, lawfully was on the
walkway of defendants’ premises when by reason of the negligence of the
defendants, the plaintiff was caused to trip, slip, stumble and/or fall due to a low
hanging chain, a result of which caused plaintiff to sustain severe and serious
injuries more fully described hereinafter.
The defendants knew or should have known of the existence of the hazardous and
dangerous condition on the aforesaid premises and walkway.
The carelessness and/or negligence of the defendants consisted of the following:
a. Failing to maintain said premises and walkway in a safe and
reasonable condition for persons such as the plaintiff using said premises
and walkway;
b. Failing to reasonably inspect said premises and walkway to

ascertain the existence of the negligent condition when defendants knew
or should have known of the existence of said negligent condition:
14.

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Case 2:21-cv-04357-CDJ Document1 Filed 10/04/21 Page 6 of 7

c. Failing to warn persons on the premises and walkway of the
negligent and/or defective condition:

d. Failing to properly and adequately repair said premises and
walkway;

&. Failing to provide adequate lighting on the aforesaid premises and
walkway;

L; Negligently allowing said defect to remain on said premises and
walkway;

g. Failing to properly supervise persons maintaining defendants’ premises
and walkway; and,

h. Failing to respond to requests to remedy said defective condition.

Solely because of the negligence of the defendants acting as aforesaid, the
plaintiff was caused to sustain serious physical injury in and about the person,
including but not limited to plaintiff's neck, arm, elbow, hand, fingers and thumb,
as well as a severe shock to the nerves and nervous system and was or may have
been otherwise injured, whereby plaintiff has suffered and may continue to suffer
in the future and/or may be permanent.

The plaintiff may have sustained other injuries and pre-existing conditions may
have been aggravated.

The plaintiff avers that some or all of the injuries sustained may be or are of a
permanent nature and character.

As a further result of the aforesaid accident, plaintiff has been unable in the past,
and is likely to continue to be unable in the future, to attend to plaintiff's usual
duties, activities, vocations and avocations, all to plaintiff's great financial loss

and detriment.
Case 2:21-cv-04357-CDJ Document1 Filed 10/04/21 Page 7 of 7

18. As a further result of the aforesaid accident and resultant injuries, plaintiff has
expended and is in the future likely to expend substantial sums of monies for the
care, treatment and attempted cure of plaintiff's injuries, all to plaintiff's great
financial loss and detriment.

19. As a further result of the aforesaid accident and resultant injuries, plaintiff has
been caused to undergo in the past and is likely to undergo in the future, severe
pain, suffering, inconvenience and embarrassment, all to plaintiff's great financial
loss and detriment.

WHERE FORE, plaintiff, Barrie Dubois, demands Judgment against the
defendants, United States Department of the Interior, City of Philadelphia and
Philadelphia Parking Authority, in a sum in excess of SEVENTY-FIVE

THOUSAND ($75,000.00) DOLLARS,

ROSENBAUM AND ASSOCIATES, P.C.

ay, <M

Atomey th PAJAK, ESQUIRE

a 7 | 2| Attomey fgr Plaintiff
DATE: !/ “!/ 4
